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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


ARMANDO SERRANO                                            )
                                                           )       Case No. 17 CV 2869
                                  Plaintiff,               )
                                                           )       Hon. Manish S. Shah
                                                           )
                vs.                                        )       Magistrate Susan E. Cox
                                                           )
                                                           )
REYNALDO GUEVARA, ERNEST                                   )
HALVORSEN, EDWARD MINGEY,                                  )
MATTHEW COGHLAN, JOHN DILLON, the                          )
CITY OF CHICAGO, and COOK COUNTY                           )
                                                           )
                                  Defendants.              )

JOSE MONTANEZ                      )
                                   )                               Case No. 17 CV 4560
                       Plaintiff,  )
                                   )                               Hon. Manish S. Shah
                                   )
           vs.                     )                               Magistrate Susan E. Cox
                                   )
                                   )
REYNALDO GUEVARA, ERNEST           )
HALVORSEN, EDWARD MINGEY,          )
MATTHEW COGHLAN, JOHN DILLON, the )
CITY OF CHICAGO, and COOK COUNTY   )
                                   )
                       Defendants. )

                              FINAL AGREED ORDER OF DISMISSAL
    This matter coming before the Court on the Stipulation of the parties, the parties having reached
agreement to settle this matter, and the respective parties being represented by counsel, Plaintiffs,
ARMANDO SERRANO, by his, attorney, Bonjean Law Group, PLLC, and JOSE MONTANEZ, by one
of his attorneys, Loevy & Loevy; Defendants, EDWARD MINGEY and JOANN HALVORSEN, AS
SPECIAL REPRESENTATIVE OF ERNEST HALVORSEN, DECEASED, by their attorneys, The Sotos
Law Firm, P.C., and REYNALDO GUEVARA, by his attorney, Leinenweber Baroni & Daffada, LLC;
and defendant City of Chicago, by its attorney, Celia Meza, Corporation Counsel of the City of Chicago,
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and Chicago City Council having enacted an ordinance authorizing the settlement and payment of the
settlement funds agreed upon, the Court being otherwise fully advised in the premises, orders as follows:


        All of the claims of Plaintiffs, Armando Serrano and Jose Montanez, against defendants, City of
Chicago and Edward Mingey, JoAnn Halvorsen, as Special Representative of Ernest Halvorsen, deceased,
and Reynaldo Guevara, are dismissed with prejudice and without leave to reinstate and with each party
bearing its own costs and attorneys' fees.


                                                      ENTER:
                                                      The Honorable JUDGE MANISH S. SHAH

                                                      DATED: September 22, 2021
